    23-03004-cgb Doc#139-24 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 24. Motion
EXHIBIT 24 - MOTION TO WITHDRAW (DKT. 277)
                                  to Withdraw Pg 1 of 7



                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                          EL PASO DIVISION

      IN RE:                                       §
                                                   §
      PDG PRESTIGE, INC.,                          §                  Case No. 21-30107
                                                   §
      Debtor.                                      §
                                                   §

             MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. TO
             WITHDRAW AS COUNSEL FOR DEBTOR

     THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
     INTERESTS.

     IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY ONE (21) DAYS FROM THE
     DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
     WITHOUT A HEARING BEING HELD.

     A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

     TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

             Weycer, Kaplan, Pulaski & Zuber, P.C. (and Jeff Carruth, lead counsel) (collectively,

     “WKPZ”), counsel to PDG Prestige Inc., the Debtor (“PDGP” or the “Debtor”), files this Motion

     of Weycer, Kaplan, Pulaski & Zuber, P.C. to Withdraw as Counsel for Debtor and in support

     thereof would show the Court the following.

             1.     On July 13, 2023, this case was converted to Chapter 7. See Order Converting

     Case to Chapter 7 (Docket No. 271).

             2.     WKPZ and Jeff Carruth wish to withdraw from this case in light of the conversion

     of this case to Chapter 7.

             3.     A proposed form of order accompanies this Motion.

             WHEREFORE, Weycer, Kaplan, Pulaski & Zuber, P.C., (and Jeff Carruth, lead counsel)

     respectfully requests that the Court enter an order withdrawing WKPZ and Jeff Carruth from the

     MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. TO
     WITHDRAW AS COUNSEL FOR DEBTOR — Page 1                                            2360229.DOCX [1]
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representation of PDG Prestige Inc.. Movant respectfully requests such other and further relief

to which movant is entitled at law or in equity.


Dated: July 17, 2023                      Respectfully submitted:

                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                          By:    /s/ Jeff Carruth
                                              JEFF CARRUTH (TX SBN:. 24001846)
                                              2608 Hibernia, Suite 105
                                              Dallas, TX 75204-2514
                                              Telephone: (713) 341-1158
                                              Fax: (713) 961-5341
                                              E-mail: jcarruth@wkpz.com

                                          PROPOSED FORMER ATTORNEYS FOR
                                          PDG PRESTIGE INC.
                                          DEBTOR


                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and correct copy of the foregoing was served
on July 17, 2023 (1) by electronic notice to all ECF users who have appeared in this case to date,
as set forth below and (2) by regular mail to all parties appearing in the attached address list (i.e.
mailing matrix).
                                                      /s/ Jeff Carruth
                                                      JEFF CARRUTH




MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. TO
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                                                        ECF SERVICE LIST

21-30107-hcm Notice will be electronically mailed to:

                                                                      stee.com

                                                                      Fred Kennon on behalf of Creditor Dona Ana County Treasurer
Steven B. Bass on behalf of Creditor United States of America
                                                                      fredk@donaanacounty.org
Internal Revenue Service
Steven.Bass@usdoj.gov, tina.travieso@usdoj.gov
                                                                      David P. Lutz on behalf of Defendant PDG Prestige, Inc.
                                                                      dplutz@qwestoffice.net
James W. Brewer on behalf of Creditor New Mexico Real Estate
Advisors, Inc. d/b/a Colliers International
                                                                      David P. Lutz on behalf of Defendant PDG, Inc.
jbrewer@kempsmith.com, tschoemer@kempsmith.com
                                                                      dplutz@qwestoffice.net
Jeff Carruth on behalf of Debtor PDG Prestige, Inc.
                                                                      David P. Lutz on behalf of Defendant Michael Dixson
jcarruth@wkpz.com,
                                                                      dplutz@qwestoffice.net
jcarruth@aol.com;ATTY_CARRUTH@bluestylus.com

                                                                      David P. Lutz on behalf of Defendant Michael J Dixson
Harrel L. Davis, III on behalf of Creditor Suresh Kumar
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hdavis@eplawyers.com,
vrust@eplawyers.com;vpena@eplawyers.com
                                                                      David P. Lutz on behalf of Interested Party PDG, Inc.
                                                                      dplutz@qwestoffice.net
Harrel L. Davis, III on behalf of Interested Party Westar Investors
Group, LLC
                                                                      David P. Lutz on behalf of Interested Party Michael J Dixson
hdavis@eplawyers.com,
                                                                      dplutz@qwestoffice.net
vrust@eplawyers.com;vpena@eplawyers.com

                                                                      David P. Lutz on behalf of Plaintiff PDG Prestige, Inc.
Harrel L. Davis, III on behalf of Interested Party Saleem Makani
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hdavis@eplawyers.com,
vrust@eplawyers.com;vpena@eplawyers.com
                                                                      Russell W. Mills on behalf of Creditor Legalist DIP GP, LLC
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Harrel L. Davis, III on behalf of Interested Party Suhail Bawa
                                                                      nsummerville@bellnunnally.com;tstephenson@bellnunnally.com
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vrust@eplawyers.com;vpena@eplawyers.com
                                                                      Russell W. Mills on behalf of Plaintiff Legalist DIP GP, LLC
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James Michael Feuille on behalf of Creditor Dennis Crimmins
                                                                      nsummerville@bellnunnally.com;tstephenson@bellnunnally.com
jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com

                                                                      Brad W. Odell on behalf of Creditor City bank
James Michael Feuille on behalf of Defendant Dennis Crimmins
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jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com
                                                                      memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.a
                                                                      xosfs.com
James Michael Feuille on behalf of Plaintiff Crimmins Family
Limited Partnership
                                                                      David W. Parham on behalf of Creditor City Bay Capital LLC
jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com
                                                                      david.parham@akerman.com,
                                                                      esther.mckean@akerman.com;david.clark@akerman.com;kristen.
James Michael Feuille on behalf of Plaintiff MDDC Investments,
                                                                      mcdanald@akerman.com;rick.boepple@akerman.com;teresa.barre
LLC
                                                                      ra@akerman.com
jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com

                                                                      Clyde A. Pine, Jr. on behalf of Creditor HD Lending, LLC
James Michael Feuille on behalf of Plaintiff White Sands
                                                                      pine@mgmsg.com, clyde.pine@gmail.com
Construction, Inc.
jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com
                                                                      James W Rose, Jr on behalf of U.S. Trustee United States Trustee -
                                                                      EP12
James Michael Feuille on behalf of Plaintiff Dennis Crimmins
                                                                      james.rose@usdoj.gov,
jfeu@scotthulse.com, tmar@scotthulse.com;jcor@scotthulse.com
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                                                                      thomas@usdoj.gov;omar.e.jones@usdoj.gov
Ronald E Ingalls
ingallstrustee@gmail.com,
                                                                      Don Stecker on behalf of Creditor City Of El Paso
ecf@ingallstrustee.com;ri@trustesolutions.net;sioboop@ingallstru


MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. TO
WITHDRAW AS COUNSEL FOR DEBTOR — Page 3                                                                                 2360229.DOCX [1]
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                              to Withdraw Pg 4 of 7


don.stecker@lgbs.com                                             Casey Scott Stevenson on behalf of Plaintiff White Sands
                                                                 Construction, Inc.
Casey Scott Stevenson on behalf of Creditor Dennis Crimmins      cste@scotthulse.com, cmac@scotthulse.com
cste@scotthulse.com, cmac@scotthulse.com
                                                                 Casey Scott Stevenson on behalf of Plaintiff Dennis Crimmins
Casey Scott Stevenson on behalf of Defendant Dennis Crimmins     cste@scotthulse.com, cmac@scotthulse.com
cste@scotthulse.com, cmac@scotthulse.com
                                                                 United States Trustee - EP12
Casey Scott Stevenson on behalf of Plaintiff Crimmins Family     USTPRegion07.SN.ECF@usdoj.gov
Limited Partnership
cste@scotthulse.com, cmac@scotthulse.com                         Gwen Irene Walraven on behalf of Creditor Legalist DIP GP, LLC
                                                                 gwalraven@bellnunnally.com, csellers@bellnunnally.com
Casey Scott Stevenson on behalf of Plaintiff MDDC Investments,
LLC                                                              Gwen Irene Walraven on behalf of Plaintiff Legalist DIP GP, LLC
cste@scotthulse.com, cmac@scotthulse.com                         gwalraven@bellnunnally.com, csellers@bellnunnally.com
                                                                 bb




MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. TO
WITHDRAW AS COUNSEL FOR DEBTOR — Page 2                                                                          2360229.DOCX [2]
                                            REGULAR MAIL LIST / MATRIX
                                                                                                                      to Withdraw Pg 5 of 7
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                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 IN RE:                                         §
                                                §
 PDG PRESTIGE, INC.,                            §                  Case No. 21-30107
                                                §
 Debtor.                                        §
                                                §

       ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI &
       ZUBER, P.C. TO WITHDRAW AS COUNSEL FOR DEBTOR (RE:
       DOCKET NO. 277

        On this day the Court considered the Motion of Weycer, Kaplan, Pulaski & Zuber, P.C. to
Withdraw as Counsel for Debtor (Docket No. 277) (the “Motion”) filed herein on July 17, 2023
by Weycer, Kaplan, Pulaski & Zuber, P.C. The Court finds and concludes that the Motion
contained the appropriate notices under the Bankruptcy Local Rules; according to the certificate
of service attached to the Motion, the Motion was served upon the parties entitled to receive
notice under the Bankruptcy Local Rules; no party in interest filed a response or objection to the
Motion or any such response or objection is overruled by this Order; and that upon review of the
record of this case and with respect to the Motion that cause exists to grant the relief requested
therein.

IT IS THEREFORE ORDERED THAT:

       1.      The Motion is granted as set forth herein.



ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C., P.C.
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       2.    All capitalized terms shall have the same meaning as ascribed to such terms in the
             Motion, unless otherwise defined herein.

       3.    Weycer, Kaplan, Pulaski & Zuber, P.C. and Jeff Carruth are hereby withdrawn as
             counsel for PDG Prestige Inc.

                                            ###
Submitted by:
Jeff Carruth (TX SBN: 24001846)
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PROPOSED FORMER ATTORNEYS FOR
PDG PRESTIGE INC.
DEBTOR




ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C., P.C.
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